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                                           RICARDO GABRIELE-PLAGE
                                       6

                                       7

                                       8                                  IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      10

                                      11   UNITED STATES OF AMERICA,                            Case No. 2:17-CR-00225-TLN
                                      12                     Plaintiff,
                                                                                                STIPULATION AND ORDER RESETTING
                                      13            v.                                          SENTENCING AND DISCLOSURE
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                                                                                DATES
                                      14   RICARDO GABRIELE-PLAGE,
                                      15                     Defendants.

                                      16

                                      17            It is hereby stipulated and agreed to between the United States of America through Brian

                                      18   Fogerty, Assistant United States Attorney and defendant Ricardo Gabriele-Plage through his

                                      19   counsel, Kresta Daly, that:

                                      20                    Judgment and Sentencing:                     January 9, 2020

                                      21                    Reply or Statement of Non-Opposition:        January 2, 2020

                                      22                    Formal Objections:                           December 26, 2019

                                      23                    Final PSR Filed With the Court:              December 19, 2019

                                      24                    Informal Objections:                         December 12, 2019

                                      25                    The Draft PSR Disclosed to Counsel:          November 28, 2019

                                      26            Probation is aware of this request and has no objection.

                                      27   ///

                                      28   ///

                                                 STIPULATION AND ORDER                 -1-                            [Case No. 2:17-CR-00225-TLN]
                                              Case 2:17-cr-00225-TLN Document 76 Filed 10/15/19 Page 2 of 2


                                       1          IT IS SO STIPULATED.
                                       2   Dated: October 11, 2019.                         Respectfully submitted,
                                       3
                                                                                 By         /s/ Kresta Nora Daly
                                       4                                                    Kresta Nora Daly
                                                                                            Attorneys for Ricardo Gabriele-Plage
                                       5

                                       6   Dated: October 11, 2019.              By         /s/ Kresta Nora Daly for
                                                                                            Brian Fogerty
                                       7                                                    Assistant United States Attorney
                                       8

                                       9

                                      10                                                    ORDER
                                      11          Good cause appearing the Court orders the previously set judgment and sentencing date
                                      12   vacated and resets all dates as follows:
                                      13                  Judgment and Sentencing:                        January 9, 2020
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                      14                  Reply or Statement of Non-Opposition:           January 2, 2020
                                      15                  Formal Objections:                              December 26, 2019
                                      16                  Final PSR Filed With the Court:                 December 19, 2019
                                      17                  Informal Objections:                            December 12, 2019
                                      18                  The Draft PSR Disclosed to Counsel:             November 28, 2019
                                      19                  IT IS SO ORDERED.
                                      20   DATED: October 15, 2019
                                      21

                                      22                                                            Troy L. Nunley
                                                                                                    United States District Judge
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                                               STIPULATION AND ORDER                  -2-                               [Case No. 2:17-CR-00225-TLN]
